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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 -----------------------------------X

 UNITED STATES OF AMERICA,

       - against -                                 MEMORANDUM & ORDER

 OMARI SCOTT,                                      24-CR-158 (KAM)

                    Defendant.

 -----------------------------------X

 KIYO A. MATSUMOTO, United States District Judge:

       Presently before the Court are the government’s motions in

 limine to preclude cross-examination of various potential civilian

 witnesses regarding prior arrests, convictions, violations that

 resulted in discipline while incarcerated, and

       .   (ECF Nos. 67, 84, 85.)       The government also moves in limine

 to preclude cross-examination of its law enforcement witnesses

 regarding administrative investigations or civil lawsuits against

 them that did not involve credibility determinations.                     (See ECF

 No. 67 at 12-26; ECF No. 85 at 5-6.)          The government contends that

 the   disclosed      information   does     not   bear    on   the     honesty   or

 credibility     of     these    witnesses    and     is    not       probative   of

 truthfulness.        Defendant, Omari Scott (“Scott” or “Defendant”),

 opposes the government’s motions solely as to certain Giglio

 disclosures of the government’s civilian witnesses, but does not

 oppose    the     government’s     motion     regarding        law     enforcement
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     VII. Civil Lawsuits

       The government identified various civil lawsuits involving

 its law enforcement witnesses:

       •   Officer MR 4: the government identified three civil lawsuits
           where Officer MR was named as a defendant, where all three
           cases    settled     without    an    adverse    credibility
           determination;

       •   Detective MS: the government identified three civil
           lawsuits where Detective MS was named as a defendant, where
           one is dormant, and two settled without an adverse
           credibility determination;

       •   Sergeant PC: the government identified one civil lawsuit
           where Sergeant PC was named as a defendant. The case is
           currently pending;

       •   Detective TM: the government identified four civil lawsuits
           where Detective TM was named as a defendant, where all four
           cases    settled    without    an    adverse    credibility
           determination;

       •   Detective MB: the government identified one civil lawsuit

 4 The Court identifies the government’s law enforcement witnesses by title and
 initials only.

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          where Detective MB was named as a defendant.            The case is
          currently pending;

      •   Detective EL: the government identified three civil
          lawsuits where Detective EL was named as a defendant. All
          cases    settled    without   an    adverse    credibility
          determination;

      •   Detective TB: the government identified five civil lawsuits
          where Detective TB was named as a defendant.       Three of
          those cases settled without any adverse credibility
          findings, and two cases remain pending;

      •   Officer AC: the government identified three civil lawsuits
          where Officer AC was named as a defendant. Two of those
          cases are pending, and one case settled without any adverse
          credibility finding;

      •   Sergeant OC: the government identified four civil lawsuits
          where Sergeant OC was named as a defendant. All of the
          cases settled without any adverse credibility finding;

      •   Detective DR: the government identified three civil
          lawsuits where Detective DR was named as a defendant. Two
          cases    settled    without   an    adverse    credibility
          determination, and one case was dismissed for lack of
          prosecution    and   without   any   adverse   credibility
          determination;

      •   Detective DM: the government identified one civil lawsuit
          where Detective DM was named as a defendant.     The case
          settled without an adverse credibility determination;

      •   Officer SW: the government identified two civil lawsuits
          where Officer SW was a named defendant. Both cases settled
          without an adverse credibility determination;

      •   Detective RG: the government identified two civil cases
          where Detective RG was a named defendant.    One case has
          been inactive since the filing of the complaint without
          any adverse credibility determination, and the other case
          settled without an adverse credibility determination;

      •   Detective RL: the government identified one civil lawsuit
          where Detective RL was a named defendant. The case is
          pending;

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       •   Detective JR: the government identified two civil lawsuits
           where Detective JR was a named defendant.      Both cases
           settled without an adverse credibility determination;

       •   Detective WF: the government identified one civil lawsuit
           where Detective WF was a named defendant. The case settled
           without an adverse credibility determination;

       •   Officer RA: the government identified two civil lawsuits
           where Officer RA was a named defendant. Both cases settled
           without an adverse credibility determination;

       •   Detective PB: the government identified five civil lawsuits
           where Detective PB was a named defendant. Two cases settled
           without an adverse credibility determination. One case
           involved a “petition to permit a late claim for false
           arrest, malicious prosecution, and other claims relating
           to a dismissed indictment” and did not involve any
           credibility findings against Detective PB. One case is
           still pending. Finally, one case was discontinued on
           plaintiff’s   motion   without   any  adverse   credibility
           findings;

       •   Detective AP: the government identified six civil lawsuits
           where Detective AP was a named defendant. Three cases
           settled, two are still pending, and one was dismissed
           against Detective AP.     All cases did not include any
           adverse credibility determination;

       •   Ret. Sergeant DV: the government identified two civil
           lawsuits where Ret. Sergeant DV was a named defendant. One
           of the cases was filed in 1988 and is currently dormant.
           The other case settled without a credibility determination.

 The government identified no civil lawsuit involving a credibility

 finding,       and   all   cases   are   pending,      dismissed,     settled,    or

 characterized as dormant.          (ECF No. 67 at 12-26.)           The government

 moves     in    limine     to   preclude        cross-examination    on    all   the

 aforementioned civil lawsuits.               Defendant does not oppose this

 motion.

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    VIII.     Administrative Findings

       The government also moves to preclude cross-examination of

 the   identified    law    enforcement       officials   with   substantiated,

 pending, or closed Internal Affairs Bureau (“IAB”) allegations and

 Civilian Complaint Review Board (“CCRB”) allegations.                  (See ECF

 No. 67 at 12-25.)

       The government identified CCRB substantiated, pending, or

 closed      allegations     against     the    following     law    enforcement

 witnesses:

       •    Officer AS: a pending allegation that Officer AS was
            involved in an incident of physical force, threat of
            arrest, and threat of summons;

       •    Detective MS: a closed 2019 allegation that Detective MS
            was speaking discourteously and making race-based remarks
            to the complainant;

       •    Officer AP: noted possible misconduct in 2020 for carrying
            an insufficient supply of business cards; noted misconduct
            in 2021 for improper use of body-worn camera; a 2021
            substantiated allegation that Officer AP pointed his
            firearm at a civilian during a traffic stop;

       •    Officer AC: a 2020 substantiated allegation that Officer
            AC used physical force;

       •    Sergeant OC: reported misconduct in 2012 and 2013 for
            failure to prepare a memobook entry;

       •    Detective DR: reported misconduct in 2015 for failure to
            prepare a memo book entry;

       •    Detective DM: a 2011 substantiated allegation that
            Detective DM questioned a civilian about the contents of
            his pocket without founded suspicion and searched and
            frisked that civilian without responsible suspicion; noted
            misconduct in 2013 for failure to prepare a memo book

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           entry;

       •   Officer SW: noted misconduct in 2020 for improper use of
           body-worn camera; a 2020 substantiated allegation that
           Officer   SW  wrongfully   searched  a   person;   a  2020
           substantiated allegation for failure to produce a stop and
           frisk report and improper use of body-worn camera;

       •   Detective RG: reported misconduct in 2016 for failure to
           prepare a memobook entry;

       •   Detective RL: noted misconduct in June and September 2010
           for failure to prepare a memobook entry; a 2010
           substantiated allegation that Detective RL issued a
           disorderly conduct summons without a factual basis;

       •   Officer RA: a closed allegation in 2021 relating to the
           use of physical force;

       •   Detective PB: noted misconduct in 2010 for failure to
           prepare a memobook entry;

       •   Detective AP: a closed allegation in 2020 regarding seizure
           of property;

       The    government     further    identified       IAB    substantiated

 allegations against the following law enforcement witnesses:

       •   Officer MR: a 2021 substantiated allegation that Officer
           MR had an invoice discrepancy and an incomplete or
           inaccurate property clerk invoice; a 2019 finding of fault
           in an automobile accident;

       •   Detective MS: a 2020 substantiated claim that Detective MS
           had inaccurate command log entries and had his license
           plate covered;

       •   Detective SE: a 2019 substantiated claim that Detective SE
           had an invoice discrepancy and an incomplete or inaccurate
           property clerk invoice; a 2018 substantiated claim that
           Detective SE was at fault in an automobile accident; and a
           2018    substantiated    claim   that    Detective    SE’s
           identification card was missing and that she failed to
           safeguard it;


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       •   Sergeant PC: a 2019 substantiated allegation that Sergeant
           PC lost and therefore failed to safeguard his department
           cell phone; a 2019 substantiated allegation that Sergeant
           PC yelled at a complainant and failed to properly
           investigate an assault case;

       •   Detective EL: a 2021 substantiated allegation that
           Detective EL had an incomplete or improper memobook;

       •   Detective TB: a 2021 substantiated allegation that
           Detective TB had an invoice discrepancy and an incomplete
           or inaccurate invoice; a 2021 substantiated allegation that
           Detective TB’s identification card was missing and that he
           failed to safeguard it; a 2021 substantiated allegation
           that Detective TB refused to appear before the Traffic
           Violations Bureau; a 2008 finding of fault in an automobile
           accident; a 2008 report that Detective TB discovered his
           identification   card   missing;   a   2007   substantiated
           allegation that TB failed to safeguard a prisoner’s
           property;

       •   Officer AC: a 2023 finding of fault in an automobile
           accident; a 2018 substantiated allegation that Officer AC
           failed to prepare a complaint report when a perpetrator
           damaged a mailbox;

       •   Officer AC: a 2020 finding of fault in an automobile
           accident;

       •   Officer BS: a 2023 substantiated allegation that Officer
           BS threatened to arrest and threatened to damage property
           in connection with a tenant who was drilling holes into
           neighboring apartments; a 2020 substantiated allegation
           that Officer BS failed to properly search a prisoner and
           contraband was found thereafter; a 2020 partially
           substantiated allegation that Officer BS failed to properly
           search a prisoner;

       •   Detective DR: a pending investigation for shooting a dog
           in 2021; two 2014 substantiated allegations that Detective
           DR failed to appear before the Traffic Violations Bureau;

       •   Detective DM: a 2023 substantiated allegation that
           Detective DM’s identification card was missing and that he
           failed to safeguard it; a 2017 finding of fault in an
           automobile accident; a 2012 substantiated allegation for

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           failure to appear before the Traffic Violations Bureau at
           the designated time;

       •   Officer SW: a 2022 substantiated allegation that Officer
           SW failed to activate his body-worn camera and failed to
           prepare a stop and frisk report; a 2022 substantiated
           allegation that Officer SW failed to activate his body-
           worn camera; 2018 and 2017 findings of fault in an
           automobile accident;

       •   Officer DD: a 2012 substantiated allegation that Officer
           DD failed to appear before the Traffic Violations Bureau;

       •   Detective RL: a 2022         substantiated allegation that
           Detective RL lost his        parking permit and failed to
           safeguard it;

       •   Detective JR: a 2013 and 2009 finding of fault in an
           automobile accident; a 2011 substantiated allegation that
           Detective JR failed to appear before the Traffic Violations
           Bureau;

       •   Detective OS: a 2008 plea of guilty to an allegation that
           he testified as a character witness without permission from
           the Police Commissioner, but pursuant to a trial subpoena;
           a 2005 substantiated allegation for failure to file an
           accident report;

       •   Detective WF: a 2014 substantiated allegation that
           Detective WF failed to appear before the Traffic Violations
           Bureau;

       •   Officer RA: pending allegations for failure to prepare a
           complaint and domestic incident report and failure to take
           police action on January 31, 2025; a 2021 substantiated
           allegation for failure to prepare a complaint report; a
           2021 and 2019 finding of fault in automobile accidents;

       •   Detective PB: a 2012 finding of fault in an automobile
           accident;

       •   Detective AP: a 2024 substantiated allegation regarding an
           incomplete or inaccurate property clerk invoice; a 2013
           and 2010 finding of fault in an automobile accident; a 2011
           partially substantiated allegation regarding an arrest
           without giving the arrestee a chance to show her

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            identification;

        •   Ret. Sergeant DV: a 1992 partially substantiated allegation
            that Sergeant DV failed to take proper police instruction;

        •   Detective TM: a 2020 finding of fault in an automobile
            accident;

        •   Detective MB: a 2021 substantiated an allegation that
            Detective MB failed to properly search a department
            vehicle.

 (See ECF No. 67 at 12-25; ECF No. 85 at 5-6.)                     None of the

 disciplinary findings before the IAB or the CCRB contained adverse

 credibility findings.        The government moves in limine to preclude

 cross-examination on all disciplinary history for all the above-

 mentioned law enforcement witnesses.           (Id.)      Defendant does not

 oppose this motion.

                                 LEGAL STANDARD

        Federal Rule of Evidence 608(b) governs the admission of

 “evidence of specific act . . . to attack the witness's character

 for truthfulness[.]”         United States v. Daniels, 566 F. Supp. 3d

 191, 194 (E.D.N.Y. 2021) (citing United States v. Peterson, 808

 F.2d 969, 973-74 (2d Cir. 1987)).          The same rule permits a court,

 “in its discretion, [to] allow inquiry into specific instances of

 the conduct of a witness on cross-examination, but only if those

 acts   are    ‘probative   of   truthfulness     or    untruthfulness.’”     Id.

 (citing Fed. R. Evid. 608(b)).

        “In addition to determining whether, on cross-examination, a

 particular prior act is probative of truthfulness and therefore

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 permissible under Rule 608(b), the court still must be guided by

 [Federal Rules of Evidence] 611 and 403 in deciding whether to

 exercise its discretion to allow cross-examination pursuant to

 Rule 608(b).” Id. (quoting United States v. Brown, No. 07-CR-874

 (KAM), 2009 WL 497606, at *4 (E.D.N.Y. Feb. 26, 2009) (internal

 quotation removed)); see also United States v. Devery, 935 F. Supp.

 393, 407-08 (S.D.N.Y. 1996) (“[C]ase law interpreting the express

 purpose of Rule 608(b) makes clear that not all prior bad acts are

 admissible to impeach a witness. Such acts are only admissible

 insofar as they bear on a witness's propensity for truthfulness or

 untruthfulness,        and,   even    if   the   prior      act    does   concern   the

 witness's      character      for    truthfulness     under       Rule    608(b),   its

 probative      value   must    not    be   substantially          outweighed   by   its

 unfairly prejudicial effect under Rule 403.”).

                                      DISCUSSION

      I.     Cross-Examination Regarding Prior Convictions

           The government seeks to preclude cross-examination on the

 prior convictions of Witness-1, Witness-2, Witness-4, and Witness-

 6.     (ECF No. 67 at 1-11; ECF No. 85 at 1-5.)                    Defendant largely

 does not challenge the government’s motion in limine to preclude

 cross-examination on these convictions.                  (See generally ECF No.

 83.)       However, Defendant does seek to cross-examine Witness-2 on



                   to the extent that this conviction involved “some

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 form of deceit.”        (Id. at 7.)          Defendant also seeks to cross-

 examine Witness-6 on the disclosed                               .   (ECF No. 86

 at 2.)   Additionally, to the extent that any witness’s convictions

 resulted in a

                                       , Defendant seeks to cross-examine

 the witnesses on those topics.          (Id. at 7-8.)

          A.    Convictions Over Ten Years Old

       Evidence    of    a   witness’s        prior   criminal   conviction     is

 admissible for impeachment purposes within certain limits.                    For

 convictions more than ten years old, evidence of a defendant’s

 prior felony conviction is admissible “only if its probative value

 . . . substantially outweighs its prejudicial effect.” Fed. R.

 Evid. 609(b). The Second Circuit has held that, under Rule 609(b),

 “convictions over ten years old [should] be admitted ‘very rarely

 and only in exceptional circumstances,’”             Zinman v. Black & Decker

 (U.S.), Inc., 983 F.2d 431, 434 (2d Cir. 1993), as “convictions

 more than ten years old have very little or no probative value.”

 United States v. Mahler, 579 F.2d 730, 736 (2d Cir. 1978), cert.

 denied, 439 U.S. 872 (1978) and cert. denied, 439 U.S. 1104 (1979).

 When evaluating whether “exceptional circumstances” are present,

 courts in this Circuit consider several factors including the

 “nature, age, and severity of the crime and its relevance to the

 witness's credibility, the importance of credibility as an issue

 in the case, the availability of other means to impeach the

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 witness, and whether the witness has ‘mended his ways’ or engaged

 in similar conduct recently.”          Daniels v. Loizzo, 986 F. Supp.

 245, 252 (S.D.N.Y. 1997) (quoting Sango v. City of New York, No.

 83-cv-5177 (JMM), 1989 WL 86995, at *18 (E.D.N.Y. Jul. 25, 1989)).

       Here, many of the disclosed convictions are over 10 years old

 and “do not involve a consummated act of a false statement or a

 dishonest act,” making it “presumptively inadmissible.”               Marshall

 v. Port Auth. of New York & New Jersey, No. 19-cv-2168 (LJL), 2022

 WL 17491006, at *4 (S.D.N.Y. Dec. 5, 2022) (“Rule 609(b) makes

 even crimes involving dishonest acts presumptively inadmissible if

 they are more than ten years old . . . and crimes [that] do not

 involve a consummated act of a false statement or a dishonest act

 [are even] less probative.”).         Witness-1’s

                     Witness-2’s                        , and Witness-6’s



               are all older than ten years old.           Moreover, none of

 these convictions “involve a consummated act of a false statement

 or a dishonest act.”       Accordingly, allowing questioning on these

 convictions would shed little light on Witness-1’s, Witness-2’s,

 or Witness-6’s credibility and would instead be “an unnecessary

 distraction.”    United States v. Mohamed, No. 18-cr-603 (ARR), 2020

 WL 1686259, at *2 (E.D.N.Y. Apr. 7, 2020). The government’s motion

 to preclude cross-examination as to these convictions more than a

 decade ago is, therefore, GRANTED.

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           B.   Convictions Under Ten Years Old

        As to the admissibility of the convictions that are less than

 ten years old, the court must consider “(1) the conviction’s

 impeachment value, (2) the amount of time that passed between the

 prior conviction and the trial date, (3) the similarity of the

 past   crime   to   the      charged   crime,   (4)    the    importance   of     the

 defendant’s testimony, and (5) the importance of the witness’s

 credibility to the trial.”         United States v. Otufale, 740 F. Supp.

 3d 233, 245 (E.D.N.Y. 2024) (citing United States v. Hayes, 553

 824, 828 (2d Cir. 1977)). Although all of these factors are

 relevant, “[p]rime among them is [the first factor, i.e.,] whether

 the crime, by its nature, is probative of a lack of veracity.”

 United States v. Ortiz, 553 F.2d 782, 784 (2d Cir. 1977) (emphasis

 added).

        Defendant seeks to cross-examine Witness-2 on Witness-2’s



                         .5    (ECF No. 83 at 7.)          However, a witness’s

 conviction for attempted possession of a controlled substance is

 not probative of credibility or truthfulness.                  See United States

 v. Whitley, No. 04-cr-1381 (RCC), 2005 WL 2105535, at *3 n.2

 (S.D.N.Y. Aug. 31, 2005) (finding a prior conviction for narcotics

 possession     to   have     “little   probative      value   on   the   matter   of


 5 Defendant also asserts that the governme
 disclosed convictions were violations of
 (ECF No. 83 at 7-8.)

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    II.   Cross-Examination Regarding Prior Arrests and Violations
          of Release

       The government moves to preclude cross-examination regarding

 the arrests of Witness-1, Witness-3, Witness-4 and Witness-6. (ECF

 No. 67 at 4-11; ECF No. 85 at 1-5.)            Defendant does not assert any

 specific objections to the government’s motion to preclude cross-

 examination on any of these arrests, but rather, seeks “additional

 information regarding [] Witness-3’s pending theft case so the

 Court    can   determine      whether    the     charged    conduct     involves

 dishonesty, and, if applicable,

                                  (ECF No. 83 at 7-8.)

          As an initial matter, pursuant to Federal Rule of Evidence

 608, extrinsic evidence “of prior malfeasance by a witness under

 cross-examination       [is    permitted]       only     under   very    limited

 circumstances that are probative of truthfulness.”               United States

 v. Ahmed, No. 14-cr-277 (DLI), 2016 WL 3647686, at *3 (E.D.N.Y.

 Jul. 1, 2016).    It is well settled that such limited circumstances

 do not include “unproven allegations.”            United States v. Dekattu,

 No. 18-cr-474 (ARR), 2019 WL 885620, at *1 (E.D.N.Y. Feb. 22,

 2019).     It follows, therefore, that unproven allegations such as

 an “[a]rrest[,] without more does not, in law any more than in

 reason, impeach the integrity or impair the credibility of a

 witness.    It happens to the innocent as well as the guilty. Only

 a conviction, therefore, may be inquired about to undermine the


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 trustworthiness of a witness.”            Michelson v. United States, 335

 U.S. 469, 482 (1948).

       Here, Defendant argues that the government should disclose

 further     details     regarding      Witness-3’s        arrest,    so   that     a

 determination can be made regarding the arrest’s probative value

 for Witness-3’s truthfulness.            Defendant provides no compelling

 justification     or    authority      mandating     additional       disclosure.

 Additionally, even a conviction of retail theft may not qualify as

 an offense that is admissible under Rule 609(a). See United States

 v. Myerson, No. 87-cr-796(JFK), 1988 WL 108442, at *1 (S.D.N.Y.

 Sept. 29, 1988) (excluding conviction of retail theft because it

 was not an offense “punishable by death or imprisonment in excess

 of one year.”); see also United States v. Hayes, 553 F.2d 824, 827

 (2d Cir. 1977) (holding that “crimes of stealth . . . or petit

 larceny . . . do not come within this clause [609(a)(2)].”).

 Witness-3’s arrest for retail theft, which does not appear to have

 resulted in a conviction, presents even lower probative value and

 is therefore precluded from cross-examination.

       Defendant presents no other compelling argument or authority

 for the Court to disturb the well-settled principle that “arrests

 that did not result in convictions are not admissible as specific

 instances    of   conduct    [for    impeachment      purposes]      under   [FRE]

 608(b).”      Daniels,    986   F.     Supp.   at   252.       Accordingly,      the

 government’s motion to preclude cross-examination regarding the

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 identified prior arrests is GRANTED.

    III. Cross-Examination of Protective Orders

       The government moves to preclude cross-examination on expired

 and active protective orders relating to Witness-2, Witness-4, and

 Witness-6.     (ECF No. 67 at 8-9, 10-11; ECF No. 85 at 1-5.)

 Defendant does not oppose this motion.           The Court finds that the

 probative value of the disclosed protective orders is insufficient

 to outweigh the prejudicial effects of such evidence.                See Jean-

 Laurent v. Hennessy, 840 F. Supp. 2d 529, 546 (E.D.N.Y. 2011)

 (finding “the probative value of the Order of Protection and

 plaintiff’s     subsequent    misdemeanor      convictions      of    criminal

 contempt for impeachment purposes is insufficient to outweigh the

 prejudicial effects of such evidence.”).           Rather than provide any

 probative value as to the witnesses’ veracity, this evidence may

 instead divert the jury’s attention from the relevant issues.

 Accordingly, the government’s motion in limine to preclude cross-

 examination of the disclosed protective orders is GRANTED.

    IV.




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    V.     Cross-Examination        Regarding     Disciplinary     History   While
           Incarcerated

         As described above, the government has identified various

 disciplinary       incidents        involving      Witness-1       during      his

 incarceration.      Defendant argues that Witness-1’s “breathtaking

 history of disregarding laws and rules” indicates “a level of moral

 turpitude that bespeaks a willingness to put his personal interests

 above those of society, which would include his obligation to tell

 the truth under oath.”       (ECF No. 83 at 7.)       Defendant asserts that,

 “[Witness-1’s]     conduct    is     therefore    substantially     relevant    to

 [his] credibility[.]”        (Id.)

         A court may, on cross-examination, allow “specific instances

 of a witness’s conduct . . . to be inquired into if they are

 probative     of   the    [witness’s]     character       for   truthfulness    or

 untruthfulness.”        Fed. R. Evid. 608(b).       “[E]ven if [a] prior act

 does concern the witness's character for truthfulness under Rule

 608(b), its probative value must not be substantially outweighed

 by its unfairly prejudicial effect under Rule 403.”                United States


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 v. Devery, 935 F. Supp. 393, 407- 08 (S.D.N.Y. 1996).

        Here,    the      identified      disciplinary       incidents    involving

 Witness-1 do not include any probative conduct for truthfulness.

 Instead, Witness-1’s conduct largely consists of violent conduct,

 creating a disturbance, and possession of drugs and alcohol.                    Such

 conduct is not probative of a person’s character for truthfulness.

 See United States v. Estrada, 430 F.3d 606, 617-18 (2d Cir. 2005)

 (noting distinction between “crimes that reflect adversely on a

 person’s integrity . . . and acts of violence, which may result

 from a short temper, a combative nature, extreme provocation, or

 other causes, [and] generally have little or no direct bearing on

 honesty and veracity.” (internal citations omitted)); see also

 Granados-Coreas v. Nassau Cnty., No. 18-cv-6092 (AYS), 2022 WL

 16575725,      at   *7    (E.D.N.Y.      Nov.   1,   2022)      (precluding     jail

 disciplinary infractions).            Accordingly, the government’s motion

 in    limine   to   preclude    cross-examination          on   Witness-1’s    prior

 disciplinary history in custody is GRANTED.

      VI.   Cross-Examination of Incidents Underlying the
            Administrative Findings of the Law Enforcement Witnesses

        Generally, “[c]omplaints against officers are not probative

 of a law enforcement witness's truthfulness or untruthfulness

 unless the underlying conduct involves dishonesty.” Bryant v.

 Serebrenik, No. 15-CV-3762 (ARR) (CLP), 2017 WL 713897, at *2

 (E.D.N.Y. Feb. 23, 2017).          Courts may preclude cross-examination


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 of prior, substantiated instances of officer misconduct where the

 underlying conduct is not probative of the officer’s truthfulness

 or untruthfulness. See, e.g., United States v. Horsford, 422 F.

 App'x 29, 30 (2d Cir. 2011) (summary order) (precluding cross-

 examination    of   CCRB   complaint    where    “the    underlying     conduct

 involved no dishonesty”); United States v. Barret, No. 10–CR–809

 (KAM), 2012 WL 194992, at *2 (E.D.N.Y. Jan. 23, 2012) (precluding

 cross-examination of several substantiated complaints that did

 “not involve conduct that bears on credibility”).

       Further, even where conduct may be initially probative, a

 court must still weigh whether the probative value outweighs the

 danger of “unfair prejudice, confusing the issues, misleading the

 jury [or] wasting time.”        Ahmed, 2016 WL 3647686, at *2 (citing

 Fed. R. Evid. 403).     In this vein, courts may also preclude cross-

 examination    of   pending   investigations.           See   Jean-Laurent    v.

 Hennessy, 840 F. Supp. 2d 529, 556 (E.D.N.Y. 2011) (finding that

 “because the CCRB complaints were not substantiate . . . under

 Rule 403, the probative-prejudice balancing test weighs heavily in

 favor of excluding the evidence” and precluding plaintiffs “from

 presenting evidence of CCRB complaints against defendants that

 remain unsubstantiated”).

       Here, the government asserts, and Defendant does not dispute,

 that none of the substantiated IAB or CCRB allegations bear on a

 witness’s credibility.        Accordingly, the government’s motion in

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 limine    to    preclude    cross-examination          of    the       above-mentioned

 administrative findings is GRANTED.

    VII. Cross-Examination          of   Incidents          Underlying      the     Civil
         Lawsuits

        Finally, the government seeks to preclude cross-examination

 regarding      civil    lawsuits    filed        against    its    law     enforcement

 witnesses.       (ECF No. 67 at 12-25.)             The government states that

 none     of    the    disclosed    civil        lawsuits    include      any     adverse

 credibility determination.          (Id.)        Defendant does not oppose the

 motion, and indicates that he will not seek to cross-examine the

 government’s law enforcement witnesses on the disclosed civil

 lawsuits.      (ECF No. 83 at 1.)

        Civil lawsuits against government law enforcement witnesses

 that offer only unproven allegations or that have settled “lacking

 any    adverse       findings”    are   not       “probative      of    the    witness’

 truthfulness.”         Ahmed, 2016 WL 3647686, at *3; see also United

 States v. Jackson, No. 19-CR-356 (ARR), 2020 WL 6558215, at *3

 (E.D.N.Y. Nov. 9, 2020) (finding that because “[a]ll of the civil

 lawsuits brought against the government's witnesses are either

 currently pending or have already ended in settlement without any

 admission of wrongdoing by the defendant or adverse credibility

 finding by the court,” there was “no reason to believe that the

 underlying files are likely to contain material that is relevant

 to the credibility of the witnesses”).


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       Here,    the   government    moves    to   preclude   cross-examination

 regarding      civil    lawsuits      against     the    aforementioned       law

 enforcement witnesses.      Defendant does not oppose this motion.             As

 discussed above, the civil lawsuits the government identified have

 settled, been dismissed, are dormant, or are pending without the

 government’s knowledge of any adverse credibility finding. (See

 ECF No. 67 at 12-25.)       These lawsuits are not “probative of the

 witness’ truthfulness.”       Ahmed, 2016 WL 3647686, at *3; see also

 Jackson, 2020 WL 6558215, at *3.            Accordingly, the government’s

 motion to preclude cross-examination on these civil lawsuits is

 GRANTED.

                                    CONCLUSION

       For the foregoing reasons, the government’s motion in limine

 to preclude Defendant from cross-examining certain civilian and

 law enforcement witnesses on the disclosed Giglio materials is

 GRANTED.


 So ordered.

 Dated:        May 13, 2025
               Brooklyn, New York         _______________________________
                                         Hon. Kiyo A. Matsumoto
                                         United States District Judge
                                         Eastern District of New York




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